Case 1:22-cv-00944-JMB-SJB ECF No. 82, PageID.1632 Filed 05/06/24 Page 1 of 3




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                    100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                     Filed: May 06, 2024


Ms. Kayla Toney
First Liberty Institute
1331 Pennsylvania Avenue, N.W.
Suite 1410
Washington, DC 20004

                      Re: Case No. 24-1398, Valerie Kloosterman v. Metropolitan Hospital, et al
                          Originating Case No. : 1:22-cv-00944

Dear Counsel,

   This appeal has been docketed as case number 24-1398 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by May 20, 2024. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                                     Appearance of Counsel
                      Appellant:     Civil Appeal Statement of Parties & Issues
                                     Disclosure of Corporate Affiliations
                                     Application for Admission to 6th Circuit Bar (if applicable)

                                     Appearance of Counsel
                      Appellee:      Disclosure of Corporate Affiliations
                                     Application for Admission to 6th Circuit Bar (if applicable)
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   You have until May 20, 2024 to either pay the $605.00 appellate filing fee or file a motion for
leave to proceed on appeal in forma pauperis and an accompanying financial affidavit. Either
one must be paid/filed with the U.S. District Court. Failure to do one or the other may result
in the dismissal of the appeal without further notice. If you move for pauper status and the
district court denies your motion in part or in full, or if you are otherwise dissatisfied with the
district court's ruling, you may renew the motion for pauper status in this court within 30 days of
that ruling.

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Robin L Baker
                                                  Case Manager
                                                  Direct Dial No. 513-564-7014

cc: Mr. Jonathon A. Rabin

Enclosure
Case 1:22-cv-00944-JMB-SJB ECF No. 82, PageID.1634 Filed 05/06/24 Page 3 of 3




               OFFICIAL COURT OF APPEALS CAPTION FOR 24-1398




VALERIE KLOOSTERMAN

            Plaintiff - Appellant

v.

METROPOLITAN HOSPITAL, dba University of Michigan Health - West, dba Metro Health -
University of Michigan Health; RAKESH PAI, individually and in his official capacity as
President, Medical Group & Chief Population Health Officer at Univeristy of MIchigan Health-
West; RHAE-ANN BOOK, individually and in her official capacity as Vice President of
Diveristy, Equality, and Inclusion at Univeristy of MIchigan Health-West; MARIA COLE,
individually and in her official capacity as Director of Human Resources at Univeristy of
MIchigan Health-West; THOMAS PIERCE, individually and in his official capacity as
Diveristy, Equity & Inclusion Coordinator at Univeristy of MIchigan Health-West;
CATHERINE SMITH, individually and in her official capacity as a member of the Advanced
Practice Providers' Council at Univeristy of MIchigan Health-West

            Defendants - Appellees
